          Case 3:14-cv-03264-JD Document 1510 Filed 03/01/17 Page 1 of 3


 1

 2

 3

 4

 5

 6

 7

 8                                  UNITED STATES DISTRICT COURT

 9                               NORTHERN DISTRICT OF CALIFORNIA

10                                      SAN FRANCISCO DIVISION

11   IN RE CAPACITORS ANTITRUST                      Master File No. 3:14-cv-03264-JD
     LITIGATION
12                                                   [PROPOSED] FINAL JUDGMENT OF
     THIS DOCUMENT RELATES TO:                       DISMISSAL WITH PREJUDICE AS TO
13                                                   DEFENDANT FUJITSU LIMITED
     ALL DIRECT PURCHASER ACTIONS,
14                                                   Date:        March 2, 2017
                                                     Time:        10:00 a.m.
15                                                   Judge:       The Honorable Judge Donato
                                                     Courtroom:   11, 19th Floor
16

17

18

19          This matter has come before the Court to determine whether there is any cause why this

20   Court should not approve the settlement between Plaintiffs Chip-Tech, Ltd., Dependable

21   Component Supply Corp., eIQ Energy, Inc., and Walker Component Group, Inc. (together, the

22   “Direct Purchaser Plaintiffs” or “Plaintiffs“), individually and on behalf the Direct Purchaser Class

23   they seek to represent, on the one hand, and Fujitsu Limited, on the other, set forth in the Settlement

24   Agreement dated January 18, 2016 (the “Settlement Agreement”). The Court, after carefully

25   considering all papers filed and proceedings held herein and otherwise being fully informed in the

26   premises, has determined (1) that the settlement should be approved, and (2) that there is no just

27   reason for delay of the entry of this Final Judgment approving the Settlement Agreement.

28   Accordingly, the Court directs entry of Judgment, which shall constitute a final adjudication of this
                                                   1
                                                                              MASTER FILE NO 3:14-cv-03264-JD
                                                                         FINAL JUDGMENT OF DISMISSAL WITH
                                                                            PREJUDICE AS TO FUJITSU LIMITED
          Case 3:14-cv-03264-JD Document 1510 Filed 03/01/17 Page 2 of 3


 1   case on the merits as to Fujitsu Limited in accordance with the terms of the Settlement Agreement.

 2   Good cause appearing therefor, it is:

 3          ORDERED, ADJUDGED AND DECREED THAT:

 4          1.      The Court has jurisdiction over the subject matter of the Action and over all parties to

 5   the Settlement Agreement, including all members of the Settlement Class.

 6          2.      The Court incorporates in this Final Judgment the definitions of terms set forth in the

 7   Settlement Agreement [ECF No. 1461-2] as though they were fully set forth in this Final Judgment.

 8   Specifically, “Settlement Class,” as defined in the Settlement Agreement, means all persons in the

 9   United States that purchased Capacitors (including through controlled subsidiaries, agents, affiliates

10   or joint ventures) directly from any of the Defendants, their subsidiaries, agents, affiliates or joint

11   ventures from January 1, 2002, through July 22, 2015. Excluded from the Settlement Class are

12   (i) Defendants (and their subsidiaries, agents and affiliates) and their co-conspirators and (ii) each

13   member of the Class Action who has timely requested exclusion by “opting out.”

14          3.      The Court finally approves and confirms the settlement set forth in the Settlement

15   Agreement and finds that said settlement is, in all respects, fair, reasonable and adequate to the

16   Settlement Class pursuant to Rule 23 of the Federal Rules of Civil Procedure.

17          4.      Pursuant to Fed. R. Civ. P. 23(g), the Court appoints the Joseph Saveri Law Firm as

18   counsel for the Settlement Class. This firm has and will fairly and competently represent the

19   interests of the Settlement Class.

20          5.      The persons/entities identified in the “Summary of Entities Requesting Exclusion”

21   filed by Plaintiffs on February 21, 2017 [ECF No. 1498-3], have validly requested exclusion from the

22   Class and, therefore, are excluded, except that Hon Hai Precision Industry Co. Ltd., Dell Inc., and

23   EMC Corporation did not request to be excluded with respect to the settlement relating to

24   Fujitsu Limited. Such persons and entities, and only such persons and entities, are not included in or

25   bound by this Final Judgment to the extent they have requested exclusion from the settlement

26   relating to Fujitsu Limited. Such persons and entities shall not receive any of the proceeds obtained

27   through the Settlement Agreement to the extent they have requested exclusion from the settlement

28   relating to Fujitsu Limited.
                                                      2
                                                                             MASTER FILE NO 3:14-cv-03264-JD
                                                              ORDER GRANTING FINAL JUDGMENT OF DISMISSAL
                                                                      WITH PREJUDICE AS TO FUJITSU LIMITED
          Case 3:14-cv-03264-JD Document 1510 Filed 03/01/17 Page 3 of 3


 1             6.    This action is dismissed with prejudice as against Fujitsu Limited, each side to bear its

 2   own costs and attorneys’ fees except as provided by the Settlement Agreement and the Court’s

 3   orders.

 4             7.    All persons and entities who are Releasors are hereby barred and enjoined from

 5   commencing, prosecuting or continuing, either directly or indirectly, against the Releasees, in this or

 6   any other jurisdiction, any and all claims, causes of action or lawsuits, which they had, have, or in the

 7   future may have, arising out of or related to any of the Released Claims as defined in the Settlement

 8   Agreement [ECF No. 1461-2].

 9             8.    The Releasors hereby and forever release and discharge the Releasees with respect to

10   the Released Claims as defined in the Settlement Agreement [ECF No. 1461-2].

11             9.    Without affecting the finality of the Court’s judgment in any way, the Court retains

12   continuing and exclusive jurisdiction over the Settlement and the Settlement Agreement, including

13   all future proceedings concerning the administration, interpretation, consummation, and

14   enforcement of the Settlement Agreement.

15             10.   This document constitutes a final judgment and separate document for purposes of

16   Federal Rule of Civil Procedure 58(a).

17             11.   The Court finds, pursuant to Rules 54(a) and (b) of the Federal Rules of Civil

18   Procedure, that there is no just reason for delay in the entry of this Judgment, as a Final Judgment, as

19   to Plaintiffs and the Settlement Class and Fujitsu Limited. Accordingly, the Court directs the Clerk

20   to enter Judgment forthwith.

21             IT IS SO ORDERED.

22

23   Dated: __________________
24

25                                                          HON. JAMES DONATO
                                                            United States District Judge
26

27

28
                                                       3
                                                                               MASTER FILE NO 3:14-cv-03264-JD
                                                                ORDER GRANTING FINAL JUDGMENT OF DISMISSAL
                                                                        WITH PREJUDICE AS TO FUJITSU LIMITED
